                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:13-00120
                                                    )       JUDGE CAMPBELL
CUAUHTEMOC SARAFIN-BENITIZ                          )

                                             ORDER

         Pending before the Court is a Motion to Appear as Co-Counsel (Docket No. 66). The Motion

is GRANTED.

         It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




     Case 3:13-cr-00120      Document 67      Filed 04/14/14     Page 1 of 1 PageID #: 135
